Case 1:15-cr-00200-REB Document 144 Filed 09/06/18 USDC Colorado Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Criminal Action No. 15-CR-200-REB

UNITED STATES OF AMERICA,

       Plaintiff,
v.

SHAWN SHIELDS,

       Defendant.

     MOTION OF SEAN SHIELDS TO PROCEED ON APPEAL WITHOUT PAYMENT OF
                              FEES OR COSTS

       Shawn Shields requests the Court, pursuant to 28 U.S.C. Sec. 1915 and Fed. R.

App. P. 24 to order that he be allowed to proceed on appeal without payment of fees or

costs, including the costs of transcripts on the following grounds:

       1. Mr. Shields is indigent having been incarcerated for several decades. He has

           been represented at trial by court-appointed counsel.

       2. Attached to this Motion is Mr. Shields’ affidavit in the detail prescribed by Form

           4 of the Appendix of Forms to the Federal Rules of Appellate Procedure

           attesting that he is unable to pay fees or costs or give any security for them,

           that he desires to raise on appeal the issue of the court’s denial of pretrial

           motions and the court’s refusal to instruct the jury on the defense of necessity,

           the he is entitled to redress, that the appeal is taken in good faith, that the

           appeal is not frivolous and presents a substantial question, that he has no

           money in his prison account and has no assets.




                                             1
Case 1:15-cr-00200-REB Document 144 Filed 09/06/18 USDC Colorado Page 2 of 2




       WHEREFORE, Sean Shields requests that the Court order that he be allowed to

proceed on appeal without payment of fees.



       DATED at Denver, Colorado this,       6th   day of September , 2018         .


                                                        s/ Abraham V Hutt
                                                        Abraham V Hutt
                                                        #14137
                                                        Recht Kornfeld PC
                                                        1600 Stout Street, Suite 1400
                                                        Denver, Colorado 80202
                                                        (303) 573-1900



                              CERTIFICATE OF SERVICE


I hereby certify that a copy of the forgoing was served this _ 6th   day of September,
2018 by ECF upon:


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                                                                s/ Leni Charles
                                                                Legal Assistant




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